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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 20-61872-CIV-SINGHAL/VALLE

  ALAN DERSHOWITZ,

         Plaintiff,

  v.

  CABLE NEWS NETWORK, INC.,

       Defendant.
  _______________________________/

                                            ORDER

         THIS CAUSE has come before the Court upon two objections by CNN (DE [113]

  and [114]) to the Magistrate Judge’s April 21, 2022, Order (DE [101]) on discovery motions.

  Being untimely filed, the objections are overruled.

         Rule 72(a), Federal Rules of Civil Procedure, allows parties to file objections to a

  magistrate judge’s non-dispositive orders with the district court. Fed. R. Civ. P. 72(a). Rule

  4(a)(1) of the local Magistrate Judge Rules classifies review of a magistrate judge’s

  discovery order as an appeal. Whether styled as an appeal or an objection, a party has a

  right to seek review of a magistrate judge’s order by a district judge “within 14 days of

  being served with the order.” Fed. R. Civ. P. 72(a). “The district judge in the case must

  consider timely objections and modify or set aside any part of the order that is clearly

  erroneous or is contrary to law.” Id.

         The magistrate judge held a hearing and ruled on several discovery motions on

  April 21, 2022. (DE [101]). CNN intended to seek clarification of the magistrate judge’s
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  order and, on May 4, 2022, filed an Unopposed Motion to Seal Defendant’s Motion for

  Clarification. (DE [109]). The magistrate judge held a telephonic conference on May 6,

  2022 (DE [117]) and, according to CNN, advised CNN that the way to challenge her ruling

  was to file objections under Fed. R. Civ. P. 72(a). See CNN’s Reply (DE [125]). CNN filed

  its objections on May 9, 2022. There is no indication that the magistrate judge offered any

  clarification of her April 21, 2022, order.

         Rule 72(a) states flatly that “[a] party may not assign as error a defect in the order

  that is not timely objected to.” CNN’s objections to the April 21, 2022, order were filed

  outside the 14-day window provided by the rules. The mere filing of a motion for

  clarification or a motion for reconsideration does not toll the time to file objections to the

  magistrate judge’s order. See LSC Group LLC v. Shire Development, 2022 WL 1217961

  at *6 (2nd Cir. Apr. 26, 2022); Rouviere v. Depuy Orthopaedics, Inc., 560 F. Supp. 3d 774,

  787-790 (S.D.N.Y. 2021). Even if it did, the magistrate judge did not enter any clarifying

  order on May 6, 2022, that this Court could review. For these reasons, it is hereby

         ORDERED AND ADJUDGED that CNN’s Objections (DE [113] and [114]) to the

  Magistrate Judge’s Order (DE [101]) are OVERRULED.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 2nd day of

  June 2022.




  Copies furnished counsel via CM/ECF
